Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     John                                                             Abbie
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Arthur                                                           Faye
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Sebert, Jr.                                                      Willard
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9076                                                      xxx-xx-9102
     Individual Taxpayer
     Identification number
     (ITIN)




               Case 4:20-bk-08876-SHG                      Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                        Desc
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                                                           Main Document   Page 1 of 73
Debtor 1   John Arthur Sebert, Jr.
Debtor 2   Abbie Faye Willard                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 6278 N. Calle Del Halcon
                                 Tucson, AZ 85718
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Pima
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




              Case 4:20-bk-08876-SHG                    Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                      Desc
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                                        Main Document   Page 2 of 73
Debtor 1    John Arthur Sebert, Jr.
Debtor 2    Abbie Faye Willard                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




              Case 4:20-bk-08876-SHG                      Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                       Desc
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                                          Main Document   Page 3 of 73
Debtor 1    John Arthur Sebert, Jr.
Debtor 2    Abbie Faye Willard                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code and are        you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    you a small business           cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.
                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11..


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




              Case 4:20-bk-08876-SHG                     Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                     Desc
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                                         Main Document   Page 4 of 73
Debtor 1    John Arthur Sebert, Jr.
Debtor 2    Abbie Faye Willard                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




              Case 4:20-bk-08876-SHG                       Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                    Desc
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                                           Main Document   Page 5 of 73
Debtor 1    John Arthur Sebert, Jr.
Debtor 2    Abbie Faye Willard                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ John Arthur Sebert, Jr.                                       /s/ Abbie Faye Willard
                                 John Arthur Sebert, Jr.                                           Abbie Faye Willard
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 john.sebert3@gmail.com                                            abbiewillard01@gmail.com
                                 Email Address of Debtor 1                                         Email Address of Debtor 2

                                 Executed on     July 31, 2020                                     Executed on     July 31, 2020
                                                 MM / DD / YYYY                                                    MM / DD / YYYY
              Case 4:20-bk-08876-SHG                    Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                                       Main Document                 Page 6 of 73
Debtor 1   John Arthur Sebert, Jr.
Debtor 2   Abbie Faye Willard                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Matthew Foley                                                  Date         July 31, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Matthew Foley 023212
                                Printed name

                                Law Offices of Matthew Foley, PLC
                                Firm name

                                4400 E. Broadway, Suite 811
                                Tucson, AZ 85711
                                Number, Street, City, State & ZIP Code

                                Contact phone     (520) 404-0529                             Email address         matt@foleyplc.com
                                023212 AZ
                                Bar number & State




             Case 4:20-bk-08876-SHG                         Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                    Desc
Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                                            Main Document   Page 7 of 73
                                               Certificate Number: 12459-AZ-CC-034725612


                                                             12459-AZ-CC-034725612




                    CERTIFICATE OF COUNSELING

I CERTIFY that on July 31, 2020, at 10:51 o'clock AM PDT, John Sebert
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   July 31, 2020                          By:      /s/Abigail Hernandez


                                               Name: Abigail Hernandez


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


Case 4:20-bk-08876-SHG        Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38              Desc
                              Main Document   Page 8 of 73
                                               Certificate Number: 12459-AZ-CC-034725613


                                                             12459-AZ-CC-034725613




                    CERTIFICATE OF COUNSELING

I CERTIFY that on July 31, 2020, at 10:51 o'clock AM PDT, Abbie Willard
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   July 31, 2020                          By:      /s/Abigail Hernandez


                                               Name: Abigail Hernandez


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


Case 4:20-bk-08876-SHG        Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38              Desc
                              Main Document   Page 9 of 73
 Fill in this information to identify your case:

 Debtor 1                   John Arthur Sebert, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Abbie Faye Willard
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             575,934.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             107,018.92

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             682,952.92

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             484,542.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              13,444.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             190,034.00


                                                                                                                                     Your total liabilities $               688,020.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              14,271.69

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                9,058.30

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
              Case 4:20-bk-08876-SHG                                Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                        Desc
                                                                   Main Document    Page 10 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       8,109.36


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            13,444.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             13,444.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                          Desc
                                                              Main Document    Page 11 of 73
 Fill in this information to identify your case and this filing:

 Debtor 1                    John Arthur Sebert, Jr.
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Abbie Faye Willard
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6278 N. Calle Del Halcon                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Tucson                            AZ        85718-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $575,934.00                $575,934.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Pima                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Note: Non-exempt equity is calculated at FMV of $575,934 minus 6% in
                                                                                liquidation costs of $34,556, minus lien amounts of $484,542, and
                                                                                exemption of $30,000, to be $26,836.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $575,934.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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               Case 4:20-bk-08876-SHG                                      Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                          Desc
                                                                          Main Document    Page 12 of 73
 Debtor 1        John Arthur Sebert, Jr.
 Debtor 2        Abbie Faye Willard                                                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Lexus                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      RX 350                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2011                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:             Est. 116K                  Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: 2T2BK1BAXBC112744
         Location: Debtor's Residence                                Check if this is community property                              $12,012.00                 $12,012.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $12,012.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    2 Cell Phones, 2 Dining Room Tables, 10 Dining Room Chairs,
                                    Living Room Chair, 4 Coffee/End Tables, 14 Lamps, 2 Beds, 3
                                    Nightstands, 2 Dressers, Television, Stereo, 3 Clocks, 2
                                    Refrigerators, Microwave, Dishwasher and Washing Machine.                                                                       $1,900.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    (See Question #6)                                                                                                                     $0.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                 Desc
                                                              Main Document    Page 13 of 73
 Debtor 1          John Arthur Sebert, Jr.
 Debtor 2          Abbie Faye Willard                                                                                         Case number (if known)


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            General Clothing                                                                                                          $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Costume Jewelry                                                                                                             $25.00


                                            Wedding Bands                                                                                                             $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            Native American Pot Collection                                                                                          $3,000.00


                                            Piano                                                                                                                   $2,500.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $8,425.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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             Case 4:20-bk-08876-SHG                                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                  Desc
                                                                             Main Document    Page 14 of 73
 Debtor 1         John Arthur Sebert, Jr.
 Debtor 2         Abbie Faye Willard                                                                             Case number (if known)

                                                                               Wells Fargo Bank
                                                                               Account Ending in: 2074
                                         17.1.    Checking                     (Joint account)                                                     $98.23

                                                                               Wells Fargo Bank
                                                                               Account Ending in: 2058
                                         17.2.    Checking                     (Wife's primary account)                                          $225.66

                                                                               Bank of America
                                                                               Account Ending in: 4185
                                         17.3.    Checking                     (Husband's primary account)                                       $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                               Institution name:

                                         Social Security                       Debtor (husband) receives $3,733.20 per
                                                                               month                                                                 $0.00


                                         Social Security                       Debtor (wife) receives $3,840.70 per month                            $0.00


                                         ABA Pension                           Debtor (husband) receives $1,560.28 per
                                                                               month                                                                 $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............    Issuer name and description.


                                     TIAA Annuity (qualified retirement account)
                                     Account Ending in: 101-4

                                     Note: Debtor (husband) receives $297.14 per month                                                               $0.00


Official Form 106A/B                                                    Schedule A/B: Property                                                       page 4
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                             Desc
                                                              Main Document    Page 15 of 73
 Debtor 1       John Arthur Sebert, Jr.
 Debtor 2       Abbie Faye Willard                                                            Case number (if known)


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 100-8

                                Note: Debtor (husband) receives $103.89 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 099-2

                                Note: Debtor (husband) receives $597.74 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 098-4

                                Note: Debtor (husband) receives $140.87 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 097-6

                                Note: Debtor (husband) receives $130.07 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 096-8

                                Note: Debtor (husband) receives $636.83 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 068-7

                                Note: Debtor (husband) receives $95.18 per month                                                  $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 067-9

                                Note: Debtor (husband) receives $119.60 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 066-1

                                Note: Debtor (husband) receives $199.32 per month                                                 $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 830-2

                                Note: Debtor (husband) receives $72.94 per month                                                  $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 101-6

                                Note: Debtor (husband) receives $0.19 per month                                                   $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                       page 5
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38          Desc
                                                              Main Document    Page 16 of 73
 Debtor 1        John Arthur Sebert, Jr.
 Debtor 2        Abbie Faye Willard                                                                      Case number (if known)


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 069-5

                                Note: Debtor (husband) receives $31.31 per month                                                                        $0.00


                                American Equity Annuity (qualified retirement account)
                                Account Ending in: 6771

                                Note: Debtor (husband) receives $440.40 per month                                                                       $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 6467

                                Note: Debtor (wife) receives $2,079.83 per month                                                                        $0.00


                                TIAA Annuity (qualified retirement account)
                                Account Ending in: 6459

                                Note: Debtor (wife) receives $192.20 per month                                                                          $0.00


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Federal: Owed $7,466.00                              2019 Federal &
                                                            State: Owed $633.00                                   State                                 $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 6
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                               Desc
                                                              Main Document    Page 17 of 73
 Debtor 1        John Arthur Sebert, Jr.
 Debtor 2        Abbie Faye Willard                                                                                              Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

                                             Northwestern Mutual Whole Life
                                             Insurance Policy
                                             Issue Date: 12/21/1982
                                             Policy #: 8782781
                                             Face Value: $30,932.00                                                   Spouse                                             $21,825.52


                                             Northwestern Mutual Whole Life
                                             Insurance Policy
                                             Issue Date: 12/30/1963
                                             Policy #: 5564564
                                             Face Value: $29,957.00                                                   Spouse                                             $23,194.80


                                             Northwestern Mutual Whole Life
                                             Insurance Policy
                                             Issue Date: 1/16/1974
                                             Policy #: 6778544
                                             Face Value: $54,266.00                                                   Spouse                                             $40,937.71


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $86,581.92


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.


Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 7
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             Case 4:20-bk-08876-SHG                                  Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                  Desc
                                                                    Main Document    Page 18 of 73
 Debtor 1         John Arthur Sebert, Jr.
 Debtor 2         Abbie Faye Willard                                                                                                    Case number (if known)


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $575,934.00
 56. Part 2: Total vehicles, line 5                                                                           $12,012.00
 57. Part 3: Total personal and household items, line 15                                                       $8,425.00
 58. Part 4: Total financial assets, line 36                                                                  $86,581.92
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $107,018.92               Copy personal property total      $107,018.92

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $682,952.92




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 8
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             Case 4:20-bk-08876-SHG                                     Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                               Desc
                                                                       Main Document    Page 19 of 73
 Fill in this information to identify your case:

 Debtor 1                 John Arthur Sebert, Jr.
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Abbie Faye Willard
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6278 N. Calle Del Halcon Tucson, AZ                            $575,934.00                               $30,000.00      735 ILCS 5/12-901
      85718 Pima County
      Note: Non-exempt equity is                                                           100% of fair market value, up to
      calculated at FMV of $575,934 minus                                                  any applicable statutory limit
      6% in liquidation costs of $34,556,
      minus lien amounts of $484,542, and
      exemption of $30,000, to be $26,836.
      Line from Schedule A/B: 1.1

      2011 Lexus RX 350 Est. 116K miles                               $12,012.00                                 $4,800.00     735 ILCS 5/12-1001(c)
      VIN: 2T2BK1BAXBC112744
      Location: Debtor's Residence                                                         100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2 Cell Phones, 2 Dining Room                                     $1,900.00                                 $1,900.00     735 ILCS 5/12-1001(b)
      Tables, 10 Dining Room Chairs,
      Living Room Chair, 4 Coffee/End                                                      100% of fair market value, up to
      Tables, 14 Lamps, 2 Beds, 3                                                          any applicable statutory limit
      Nightstands, 2 Dressers, Television,
      Stereo, 3 Clocks, 2 Refrigerators,
      Microwave, Dishwasher and Washing
      Machine.
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                      Desc
                                                              Main Document    Page 20 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     General Clothing                                                    $500.00                                   $500.00        735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Costume Jewelry                                                      $25.00                                    $25.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Bands                                                       $500.00                                   $500.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Native American Pot Collection                                   $3,000.00                                  $3,000.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 14.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Piano                                                            $2,500.00                                  $2,500.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 14.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of America                                           $300.00                                    $75.00        735 ILCS 5/12-1001(b)
     Account Ending in: 4185
     (Husband's primary account)                                                           100% of fair market value, up to
     Line from Schedule A/B: 17.3                                                          any applicable statutory limit

     Social Security: Debtor (husband)                                      $0.00                                     100%        42 U.S.C. § 407
     receives $3,733.20 per month
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Social Security: Debtor (wife)                                         $0.00                                     100%        42 U.S.C. § 407
     receives $3,840.70 per month
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     ABA Pension: Debtor (husband)                                          $0.00                                     100%        11 U.S.C. § 522(d)(12)
     receives $1,560.28 per month
     Line from Schedule A/B: 21.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Northwestern Mutual Whole Life                                  $21,825.52                                       100%        215 ILCS 5/238
     Insurance Policy
     Issue Date: 12/21/1982                                                                100% of fair market value, up to
     Policy #: 8782781                                                                     any applicable statutory limit
     Face Value: $30,932.00
     Beneficiary: Spouse
     Line from Schedule A/B: 31.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                         Desc
                                                              Main Document    Page 21 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Northwestern Mutual Whole Life                                  $23,194.80                                $23,194.80         215 ILCS 5/238
     Insurance Policy
     Issue Date: 12/30/1963                                                                100% of fair market value, up to
     Policy #: 5564564                                                                     any applicable statutory limit
     Face Value: $29,957.00
     Beneficiary: Spouse
     Line from Schedule A/B: 31.2

     Northwestern Mutual Whole Life                                  $40,937.71                                $40,937.71         215 ILCS 5/238
     Insurance Policy
     Issue Date: 1/16/1974                                                                 100% of fair market value, up to
     Policy #: 6778544                                                                     any applicable statutory limit
     Face Value: $54,266.00
     Beneficiary: Spouse
     Line from Schedule A/B: 31.3


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                         Desc
                                                              Main Document    Page 22 of 73
 Fill in this information to identify your case:

 Debtor 1                   John Arthur Sebert, Jr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Abbie Faye Willard
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Paloma Encanto HOA                       Describe the property that secures the claim:                         $0.00           $575,934.00                     $0.00
         Creditor's Name                          6278 N. Calle Del Halcon Tucson, AZ
                                                  85718 Pima County
                                                  Note: Non-exempt equity is
                                                  calculated at FMV of $575,934 minus
                                                  6% in liquidation costs of $34,556,
                                                  minus lien amounts of $484,542,
         c/o Cadden Community                     and exemption of $30,000, to be
         Management                               $26,836.
                                                  As of the date you file, the claim is: Check all that
         1870 W. Prince Road #47                  apply.
         Tucson, AZ 85705                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Homeowners Association
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                             Desc
                                                              Main Document    Page 23 of 73
 Debtor 1 John Arthur Sebert, Jr.                                                                             Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Abbie Faye Willard
               First Name                  Middle Name                      Last Name


         Select Portfolio
 2.2                                                Describe the property that secures the claim:                   $145,671.00           $575,934.00             $0.00
         Servicing, Inc
         Creditor's Name                            6278 N. Calle Del Halcon Tucson, AZ
                                                    85718 Pima County
                                                    Note: Non-exempt equity is
                                                    calculated at FMV of $575,934 minus
                                                    6% in liquidation costs of $34,556,
                                                    minus lien amounts of $484,542,
                                                    and exemption of $30,000, to be
         Attn: Bankruptcy                           $26,836.
                                                    As of the date you file, the claim is: Check all that
         Po Box 65250                               apply.
         Salt Lake City, UT 84165                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

                                 Opened
                                 04/07 Last
 Date debt was incurred          Active 07/20                Last 4 digits of account number         7050


 2.3     Tiaa Bank                                  Describe the property that secures the claim:                   $338,871.00           $575,934.00             $0.00
         Creditor's Name                            6278 N. Calle Del Halcon Tucson, AZ
                                                    85718 Pima County
                                                    Note: Non-exempt equity is
                                                    calculated at FMV of $575,934 minus
                                                    6% in liquidation costs of $34,556,
                                                    minus lien amounts of $484,542,
                                                    and exemption of $30,000, to be
         Attn: Bankruptcy                           $26,836.
                                                    As of the date you file, the claim is: Check all that
         301 West Bay Street                        apply.
         Jacksonville, FL 32202                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

                                 Opened
                                 03/12 Last
 Date debt was incurred          Active 07/20                Last 4 digits of account number         8905



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $484,542.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $484,542.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3
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             Case 4:20-bk-08876-SHG                               Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                        Desc
                                                                 Main Document    Page 24 of 73
 Debtor 1 John Arthur Sebert, Jr.                                                                Case number (if known)
              First Name                Middle Name                  Last Name
 Debtor 2 Abbie Faye Willard
              First Name                Middle Name                  Last Name


 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                        Desc
                                                              Main Document    Page 25 of 73
 Fill in this information to identify your case:

 Debtor 1                     John Arthur Sebert, Jr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Abbie Faye Willard
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Arizona Department of Revenue                          Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO Box 29070                                           When was the debt incurred?
              Phoenix, AZ 85038
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes                                                                        Noticing Purposes Only

 2.2          Illinois Department of Revenue                         Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              101 West Jefferson St.                                 When was the debt incurred?
              Springfield, IL 62702
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes                                                                        Noticing Purpses Only

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 9
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               Case 4:20-bk-08876-SHG                          Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                    Desc
                                                              Main Document    Page 26 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                               Case number (if known)


 2.3        Internal Revenue Service                                 Last 4 digits of account number     2019               $13,444.00             $13,444.00                    $0.00
            Priority Creditor's Name
            Centralized Insolvency                                   When was the debt incurred?         2015 - 2019
            Operations
            PO Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

            No                                                          Other. Specify
            Yes                                                                            Personal Income Tax Liability


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Bank of America                                            Last 4 digits of account number        0329                                                      $53,133.00
            Nonpriority Creditor's Name
            4909 Savarese Circle                                                                              Opened 09/96 Last Active
            Fl1-908-01-50                                              When was the debt incurred?            11/16
            Tampa, FL 33634
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Credit Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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             Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                      Desc
                                                               Main Document    Page 27 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                             Case number (if known)

 4.2      Bank of America                                            Last 4 digits of account number       8416                                           $23,955.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/90 Last Active
          4909 Savarese Circle                                       When was the debt incurred?           11/16
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Bank of America                                            Last 4 digits of account number       2311                                           $14,296.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/96 Last Active
          Po Box 982234                                              When was the debt incurred?           10/16
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Check Credit Or Line Of Credit


 4.4      Bank of America                                            Last 4 digits of account number       1629                                             $5,689.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 03/15 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           11/16
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
                                                              Main Document    Page 28 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                             Case number (if known)

 4.5      Barclays Bank Delaware                                     Last 4 digits of account number       7042                                           $11,317.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/03/08 Last Active
          Po Box 8801                                                When was the debt incurred?           11/16
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6      Capital One                                                Last 4 digits of account number       1982                                             $1,955.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/19 Last Active
          Po Box 30285                                               When was the debt incurred?           07/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.7      Chase Card Services                                        Last 4 digits of account number       7134                                           $12,492.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/02 Last Active
          Po Box 15298                                               When was the debt incurred?           11/16
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
                                                              Main Document    Page 29 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                             Case number (if known)

 4.8      Chase Card Services                                        Last 4 digits of account number       1551                                             $2,057.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/09 Last Active
          Po Box 15369                                               When was the debt incurred?           10/16
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.9      Citibank                                                   Last 4 digits of account number       8408                                           $35,164.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                              Opened 10/01 Last Active
          dept                                                       When was the debt incurred?           9/03/16
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 0        Citibank North America                                     Last 4 digits of account number       0992                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized                                                                       Opened 11/21/12 Last Active
          Bankruptcy                                                 When was the debt incurred?           10/29/14
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
                                                              Main Document    Page 30 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                             Case number (if known)

 4.1
 1        Midland Funding Llc                                        Last 4 digits of account number       9046                                               $520.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/18 Last Active
          Po Box 939069                                              When was the debt incurred?           09/17
          San Diego, CA 92193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Factoring Company Account Citibank N.A.


 4.1
 2        Nordstrom FSB                                              Last 4 digits of account number       3067                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 06/13 Last Active
          Po Box 6555                                                When was the debt incurred?           7/12/20
          Englewood, CO 80155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 3        Portfolio Recovery                                         Last 4 digits of account number       9194                                           $11,474.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/17 Last Active
          120 Corporate Blvd                                         When was the debt incurred?           10/16
          Norfold, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Factoring Company Account Synchrony
              Yes                                                       Other. Specify   Bank




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
                                                              Main Document    Page 31 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                             Case number (if known)

 4.1
 4        Resurgent Capital Services                                 Last 4 digits of account number       4578                                           $12,660.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/17 Last Active
          Pob 10497                                                  When was the debt incurred?           3/19/18
          Greenville, SC 29603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Factoring Company Account Citibank
              Yes                                                       Other. Specify   South Dakota N.A.

 4.1
 5        Syncb/PLCC                                                 Last 4 digits of account number       6253                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/00 Last Active
          Po Box 965060                                              When was the debt incurred?           08/19
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 6        Synchrony Bank/Amazon                                      Last 4 digits of account number       2889                                             $5,322.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/12 Last Active
          Po Box 965060                                              When was the debt incurred?           6/02/20
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                           Desc
                                                              Main Document    Page 32 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                              Case number (if known)

 4.1       Synchrony Bank/AVB Buying
 7         Group                                                     Last 4 digits of account number         3206                                                           $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                                                             Opened 8/26/12 Last Active
           Po Box 965060                                             When was the debt incurred?             3/18/13
           Orlando, FL 32896
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                              Contingent
               Debtor 2 only                                              Unliquidated
               Debtor 1 and Debtor 2 only                                 Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                     Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

               No                                                         Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                        Other. Specify   Charge Account

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt and Gaines, PC                                          Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 661 Glenn Avenue                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 c/o Bank of America
 Wheeling, IL 60090
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gurtsel Law Firm                                              Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Bank of America                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 9320 E. Raintree Drive
 Scottsdale, AZ 85260
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.    Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.    Taxes and certain other debts you owe the government                          6b.       $                      13,444.00
                        6c.    Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.    Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.    Total Priority. Add lines 6a through 6d.                                      6e.       $                      13,444.00

                                                                                                                                 Total Claim
                        6f.    Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.    Obligations arising out of a separation agreement or divorce that
                               you did not report as priority claims                                         6g.       $                           0.00
                        6h.    Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.    Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                               here.                                                                                   $                  190,034.00

                        6j.    Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  190,034.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 8 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                     Desc
                                                              Main Document    Page 33 of 73
 Debtor 1 John Arthur Sebert, Jr.
 Debtor 2 Abbie Faye Willard                                                                    Case number (if known)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                       Page 9 of 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38            Desc
                                                              Main Document    Page 34 of 73
 Fill in this information to identify your case:

 Debtor 1                  John Arthur Sebert, Jr.
                           First Name                         Middle Name              Last Name

 Debtor 2                  Abbie Faye Willard
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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               Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                  Desc
                                                                Main Document    Page 35 of 73
 Fill in this information to identify your case:

 Debtor 1                   John Arthur Sebert, Jr.
                            First Name                            Middle Name       Last Name

 Debtor 2                   Abbie Faye Willard
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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              Case 4:20-bk-08876-SHG                                 Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                   Desc
                                                                    Main Document    Page 36 of 73
Fill in this information to identify your case:

Debtor 1                      John Arthur Sebert, Jr.

Debtor 2                      Abbie Faye Willard
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Retired                                    Retired
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




           Case
Official Form 106I       4:20-bk-08876-SHG            Doc 1 Filed 07/31/20
                                                                Schedule           Entered 07/31/20 15:06:38
                                                                         I: Your Income                                                 Desc page 1
                                                     Main Document     Page 37 of 73
Debtor 1   John Arthur Sebert, Jr.
Debtor 2   Abbie Faye Willard                                                                    Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
     5e.    Insurance                                                                     5e.        $              0.00     $                0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
     5g.    Union dues                                                                    5g.        $              0.00     $                0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $            0.00       $            0.00
     8d. Unemployment compensation                                                        8d.        $            0.00       $            0.00
     8e. Social Security                                                                  8e.        $        3,733.20       $        3,840.70
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                  0.00   $                    0.00
     8g. Pension or retirement income                                                     8g. $               1,560.28   $                    0.00
     8h. Other monthly income. Specify: TIAA Annuity (total for husband)                  8h.+ $              2,425.08 + $                    0.00
            American Equity Annuity                                                            $                440.40   $                    0.00
            TIAA Annuity (total for wife)                                                      $              2,272.03   $                    0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          10,430.99        $           3,840.70

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              10,430.99 + $        3,840.70 = $           14,271.69
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          14,271.69
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




           Case
Official Form 106I   4:20-bk-08876-SHG             Doc 1 Filed 07/31/20
                                                             Schedule           Entered 07/31/20 15:06:38
                                                                      I: Your Income                                                       Desc page 2
                                                  Main Document     Page 38 of 73
Fill in this information to identify your case:

Debtor 1                 John Arthur Sebert, Jr.                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 Abbie Faye Willard                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                        MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,926.74

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           210.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           652.11




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
         Case 4:20-bk-08876-SHG                        Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                          Desc
                                                      Main Document    Page 39 of 73
Debtor 1     John Arthur Sebert, Jr.
Debtor 2     Abbie Faye Willard                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 330.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 205.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                757.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                159.00
10.   Personal care products and services                                                    10. $                                                  70.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 340.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 225.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  200.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Tax deductions from income                                          21. +$                                             1,820.90
      Insurance deductions from income                                                            +$                                              560.55
      Miscellaneous                                                                               +$                                              302.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       9,058.30
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       9,058.30
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              14,271.69
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              9,058.30

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              5,213.39

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
        Case 4:20-bk-08876-SHG                         Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                               Desc
                                                      Main Document    Page 40 of 73
 Fill in this information to identify your case:

 Debtor 1                    John Arthur Sebert, Jr.
                             First Name                     Middle Name             Last Name

 Debtor 2                    Abbie Faye Willard
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ John Arthur Sebert, Jr.                                               X   /s/ Abbie Faye Willard
              John Arthur Sebert, Jr.                                                   Abbie Faye Willard
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       July 31, 2020                                                  Date    July 31, 2020




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                 Desc
                                                              Main Document    Page 41 of 73
 Fill in this information to identify your case:

 Debtor 1                  John Arthur Sebert, Jr.
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Abbie Faye Willard
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        927 Green Bay Road                                       From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Wilmette, IL 60091                                       07/2016 - 06/2019                                                               From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00          Wages, commissions,                $12,704.16
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                        Desc
                                                              Main Document    Page 42 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                          Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                             Wages, commissions,                               $0.00          Wages, commissions,         $151,054.00
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                               $0.00          Wages, commissions,         $251,790.78
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                           $29,865.60         Social Security                  $30,725.60
 the date you filed for bankruptcy:   Benefits                                                                     Benefits

                                                   Retirement Annuity                           $35,406.08         Retirement Annuity               $18,176.24

 For last calendar year:                           Social Security                              $44,798.40         Social Security                  $45,244.40
 (January 1 to December 31, 2019 )                 Benefits                                                        Benefits

                                                   Retirement Annuity                           $47,717.57         Retirement Annuity               $86,883.43

 For the calendar year before that:                Social Security                              $43,584.00         Social Security                  $42,996.00
 (January 1 to December 31, 2018 )                 Benefits                                                        Benefits

                                                   Retirement Annuity                           $47,564.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                   Desc
                                                              Main Document    Page 43 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                          Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Internal Revenue Service                                  Monthly Payment                $3,000.00                 $0.00       Mortgage
       Centralized Insolvency Operations                         $1,000.00 per                                                        Car
       PO Box 7346                                               month                                                                Credit Card
       Philadelphia, PA 19101-7346                                                                                                    Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other IRS


       Tiaa Bank                                                 Monthly Mortgage               $8,780.22         $338,871.00         Mortgage
       Attn: Bankruptcy                                          Payment                                                              Car
       301 West Bay Street                                       $2,926.74 per
                                                                                                                                      Credit Card
       Jacksonville, FL 32202                                    month
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Select Portfolio Servicing, Inc                           Monthly Mortgage               $1,956.33         $145,671.00         Mortgage
       Attn: Bankruptcy                                          Payment                                                              Car
       Po Box 65250                                              $652.11 per month
                                                                                                                                      Credit Card
       Salt Lake City, UT 84165
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                       Desc
                                                              Main Document    Page 44 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                          Case number (if known)


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Elissa Thornen                                                Monthly gift                                             Monthly                        $400.00
       6532 Rico Court
       Elkridge, MD 21075

       Person's relationship to you: Debtor's
       Daughter


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                       Desc
                                                              Main Document    Page 45 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                          Case number (if known)


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Law Offices of Matthew Foley, PLC                             Attorney Fees                                            7/20/2020                 $2,500.00
       4400 E. Broadway, Suite 811
       Tucson, AZ 85711
       matt@foleyplc.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                     Desc
                                                              Main Document    Page 46 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                               Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or           Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                   closed, sold,       before closing or
       Code)                                                                                                               moved, or                    transfer
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                   Desc
                                                              Main Document    Page 47 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                               Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                   Status of the
        Case Number                                                  Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business                 Employer Identification number
        Address                                                                                                      Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ John Arthur Sebert, Jr.                                             /s/ Abbie Faye Willard
 John Arthur Sebert, Jr.                                                 Abbie Faye Willard
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      July 31, 2020                                                 Date       July 31, 2020

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                         Desc
                                                              Main Document    Page 48 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                          Case number (if known)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 8
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                       Desc
                                                              Main Document    Page 49 of 73
 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              John Arthur Sebert, Jr.                                                                 According to the calculations required by this
                                                                                                               Statement:
 Debtor 2              Abbie Faye Willard                                                                            1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                    11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of Arizona                                              2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                 0.00      $         1,411.57
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                              0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                Debtor 1
        Gross receipts (before all deductions)                              $     0.00
        Ordinary and necessary operating expenses                           -$    0.00
        Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $                 0.00      $               0.00
  6. Net income from rental and other real property                       Debtor 1
        Gross receipts (before all deductions)                              $      0.00
        Ordinary and necessary operating expenses                           -$    0.00
        Net monthly income from rental or other real property               $     0.00 Copy here -> $                 0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
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               Case 4:20-bk-08876-SHG                          Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                          Desc
                                                              Main Document    Page 50 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                         Case number (if known)


                                                                                                     Column A                      Column B
                                                                                                     Debtor 1                      Debtor 2 or
                                                                                                                                   non-filing spouse
                                                                                                     $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                       $                  0.00       $             0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $               0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                    1,560.28         $             0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                  TIAA Annuity                                                                       $            2,425.08         $         2,272.03
                  American Equity Annuity                                                            $              440.40         $             0.00
                  Total amounts from separate pages, if any.                                    +    $                  0.00       $             0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $           4,425.76           +   $      3,683.60      =    $      8,109.36

                                                                                                                                                         Total average
                                                                                                                                                         monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                       $          8,109.36
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                            $
                                                                                            $
                                                                                       +$

                     Total                                                              $                       0.00           Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                $          8,109.36

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                 $          8,109.36


Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                            page 2
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                             Desc
                                                              Main Document    Page 51 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                             Case number (if known)


                Multiply line 15a by 12 (the number of months in a year).                                                                        x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................   $     97,312.32




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                   page 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                     Desc
                                                              Main Document    Page 52 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                 Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                         AZ

       16b. Fill in the number of people in your household.               2
       16c. Fill in the median family income for your state and size of household.                                                       $     65,713.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  8,109.36
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          8,109.36


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      8,109.36

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     97,312.32




       20c. Copy the median family income for your state and size of household from line 16c                                             $     65,713.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ John Arthur Sebert, Jr.                                                 X /s/ Abbie Faye Willard
        John Arthur Sebert, Jr.                                                       Abbie Faye Willard
        Signature of Debtor 1                                                         Signature of Debtor 2
       Date July 31, 2020                                                             Date July 31, 2020
            MM / DD / YYYY                                                                 MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 4
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                 Desc
                                                              Main Document    Page 53 of 73
 Fill in this information to identify your case:

 Debtor 1            John Arthur Sebert, Jr.

 Debtor 2           Abbie Faye Willard
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Arizona

 Case number
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         04/19

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    2
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $             1,298.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 1
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                            Desc
                                                              Main Document    Page 54 of 73
 Debtor 1         John Arthur Sebert, Jr.
 Debtor 2         Abbie Faye Willard                                                                 Case number (if known)



    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person              $             56
            7b. Number of people who are under 65                           X         0
            7c. Subtotal. Multiply line 7a by line 7b.                      $         0.00            Copy here=>        $              0.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $          125
            7e. Number of people who are 65 or older                        X         2
            7f.     Subtotal. Multiply line 7d by line 7e.                  $       250.00            Copy here=>        $           250.00

            7g. Total. Add line 7c and line 7f                                                 $     250.00                   Copy total here=> $         250.00


    Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               572.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                    $        1,042.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                    To calculate the total average monthly payment, add all amounts that are
                    contractually due to each secured creditor in the 60 months after you file
                    for bankruptcy. Next divide by 60.

                    Name of the creditor                                        Average monthly
                                                                                payment

                    Paloma Encanto HOA                                          $          210.00
                    Select Portfolio Servicing, Inc                             $          652.11
                    Tiaa Bank                                                   $         2,926.74

                                                                                                      Copy                                       Repeat this amount
                                     9b. Total average monthly payment          $         3,788.85    here=>        -$               3,788.85 on line 33a.

            9c. Net mortgage or rent expense.

                    Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                    or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $              0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $               0.00

             Explain why:




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                 page 2
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                         Desc
                                                              Main Document    Page 55 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                                 Case number (if known)


    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             209.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:

    13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 -NONE-                                                            $

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $                 0.00         here =>       -$           0.00     line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $              0.00       =>              $             0.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                   $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                                                      0.00    33c.
                                                                                                                  =>       -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $              0.00       =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                        Desc
                                                              Main Document    Page 56 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                      Case number (if known)


    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                $       1,820.90
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $             0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                              $             0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $             0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.     $             0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                       $             0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                      $             0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                    +$            50.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                              $     4,199.90
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $        560.55
            Disability insurance                                          $           0.00
            Health savings account                                      +$            0.00

            Total                                                             $      560.55       Copy total here=>                    $          560.55


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                      $             0.00


Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                       page 4
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                               Desc
                                                              Main Document    Page 57 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                               Case number (if known)

    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.                       $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $               44.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $                 0.00

    32. Add all of the additional expense deductions.                                                                                                  $          604.55
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $           3,788.85
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $                0.00
    33c.      Copy line 13e here                                                                                                              =>   $                0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $           3,788.85       here=>       $    3,788.85




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                          page 5
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                  Desc
                                                              Main Document    Page 58 of 73
 Debtor 1      John Arthur Sebert, Jr.
 Debtor 2      Abbie Faye Willard                                                                                       Case number (if known)

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

               No. Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                     Monthly cure
                                                                                                                                                                   amount
     -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                  Total $                        0.00      here=>           $             0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

               No.      Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $           13,444.00          ÷ 60        $             224.07
    36. Projected monthly Chapter 13 plan payment                                                                            $             1,000.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X           10.00
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $        100.00         here=> $                     100.00


    37. Add all of the deductions for debt payment.                                                                                                                     $        4,112.92
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $        4,199.90
            Copy line 32, All of the additional expense deductions                                  $           604.55
            Copy line 37, All of the deductions for debt payment                                   +$        4,112.92


            Total deductions....................................................................    $        8,917.37                Copy total here=>              $               8,917.37




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                 page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                              Best Case Bankruptcy
              Case 4:20-bk-08876-SHG                                     Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                                         Desc
                                                                        Main Document    Page 59 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                        Case number (if known)



 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                   8,109.36
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>    $            8,917.37
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

                                                                                      $

                                                                                      $

                                                                                      $

                                                                                                              Copy
                                                                            Total $               0.00        here=> $                  0.00


                                                                                                                                   Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>      $          8,917.37      here=> -$            8,917.37


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $              -808.01


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                   decrease?
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                              page 7
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                    Desc
                                                              Main Document    Page 60 of 73
 Debtor 1     John Arthur Sebert, Jr.
 Debtor 2     Abbie Faye Willard                                                                    Case number (if known)




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ John Arthur Sebert, Jr.                                                  X /s/ Abbie Faye Willard
             John Arthur Sebert, Jr.                                                     Abbie Faye Willard
             Signature of Debtor 1                                                       Signature of Debtor 2
    Date July 31, 2020                                                             Date July 31, 2020
         MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 8
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             Case 4:20-bk-08876-SHG                            Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                               Desc
                                                              Main Document    Page 61 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                    Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2020 to 06/30/2020.

Line 9 - Pension and retirement income
Source of Income: ABA Pension
Constant income of $1,560.28 per month.



Line 10 - Income from all other sources
Source of Income: American Equity Annuity
Constant income of $440.40 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $199.32 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $103.89 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $119.60 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $140.87 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $130.07 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $636.83 per month.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                       page 9
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38               Desc
                                                              Main Document    Page 62 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                    Case number (if known)


Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $31.31 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $72.94 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $0.19 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $297.14 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $597.74 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $95.18 per month.



Non-CMI - Social Security Act Income
Source of Income: SSI
Constant income of $3,733.20 per month.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                       page 10
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38               Desc
                                                              Main Document    Page 63 of 73
 Debtor 1    John Arthur Sebert, Jr.
 Debtor 2    Abbie Faye Willard                                                                    Case number (if known)


                                           Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 01/01/2020 to 06/30/2020.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: University of Arizona
Income by Month:
 6 Months Ago:                                    01/2020                  $4,234.72
 5 Months Ago:                                    02/2020                  $4,234.72
 4 Months Ago:                                    03/2020                      $0.00
 3 Months Ago:                                    04/2020                      $0.00
 2 Months Ago:                                    05/2020                      $0.00
 Last Month:                                      06/2020                      $0.00
                                 Average per month:                        $1,411.57




Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $2,079.83 per month.



Line 10 - Income from all other sources
Source of Income: TIAA Annuity
Constant income of $192.20 per month.



Non-CMI - Social Security Act Income
Source of Income: SSI
Constant income of $3,840.70 per month.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                       page 11
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38               Desc
                                                              Main Document    Page 64 of 73
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                    Desc
                                                              Main Document    Page 65 of 73
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                         Desc
                                                              Main Document    Page 66 of 73
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                        Desc
                                                              Main Document    Page 67 of 73
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                        Desc
                                                              Main Document    Page 68 of 73
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Arizona
             John Arthur Sebert, Jr.
 In re       Abbie Faye Willard                                                                               Case No.
                                                                              Debtor(s)                       Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,500.00
             Prior to the filing of this statement I have received                                        $                  2,500.00
             Balance Due                                                                                  $                  2,000.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 31, 2020                                                            /s/ Matthew Foley
     Date                                                                     Matthew Foley 023212
                                                                              Signature of Attorney
                                                                              Law Offices of Matthew Foley, PLC
                                                                              4400 E. Broadway, Suite 811
                                                                              Tucson, AZ 85711
                                                                              (520) 404-0529 Fax: (888) 329-4606
                                                                              matt@foleyplc.com
                                                                              Name of law firm




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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                              Desc
                                                              Main Document    Page 69 of 73
                                                               United States Bankruptcy Court
                                                                       District of Arizona
            John Arthur Sebert, Jr.
 In re      Abbie Faye Willard                                                                            Case No.
                                                                                Debtor(s)                 Chapter    13

                                                                                                       Check if this is an
                                                                                                    Amended/Supplemental Mailing List
                                                                                                    (Include only newly added or
                                                                                                    changed creditors.)


                                                           MAILING LIST DECLARATION


            We, John Arthur Sebert, Jr. and Abbie Faye Willard , do hereby certify, under penalty of perjury, that the Master Mailing

List, consisting of            page(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date: July 31, 2020                                                 /s/ John Arthur Sebert, Jr.
                                                                     John Arthur Sebert, Jr.
                                                                     Signature of Debtor

 Date: July 31, 2020                                                 /s/ Abbie Faye Willard
                                                                     Abbie Faye Willard
                                                                     Signature of Debtor

 Date: July 31, 2020                                                 /s/ Matthew Foley
                                                                     Signature of Attorney
                                                                     Matthew Foley 023212
                                                                     Law Offices of Matthew Foley, PLC
                                                                     4400 E. Broadway, Suite 811
                                                                     Tucson, AZ 85711
                                                                     (520) 404-0529 Fax: (888) 329-4606




MML_Requirements_8-2018                                                                                                                MML-3

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            Case 4:20-bk-08876-SHG                             Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                Desc
                                                              Main Document    Page 70 of 73
                                              UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF ARIZONA

In re                                                                           Chapter 13

John Arthur Sebert, Jr.                                                         Case No.
Abbie Faye Willard
                                       Debtor(s)                                CERTIFICATE OF ELIGIBILITY FOR
                                                                                CHAPTER 13 DISCHARGE AFTER
                                                                                COMPLETION OF PLAN PAYMENTS

        Pursuant to 11 U.S.C. § 1328 and Local Rule 2084-26, I certify under penalty of perjury that:

        I am not required by a judicial or administrative order, or by statute, to pay a domestic support obligation (such as
        child support or spousal maintenance); OR
        I have paid all domestic support obligation amounts payable under such order or statute that were due on or before
        the date of this Certification (including all amounts due before the bankruptcy petition was filed and provided for by
        the Chapter 13 plan).
        I did not receive a discharge in a bankruptcy case filed under Chapter 7, 11 or 12 during the four-year period or in a
        case filed under Chapter 13 during the two-year period preceding the date of the order for relief in this case.
        After the petition was filed in this case, I completed an instructional course concerning personal financial
        management from an agency approved by the United States Trustee and filed a certificate of completion of such
        course.
        I have not been convicted of any felony which demonstrates or may demonstrate that the filing of this case was an
        abuse of Title 11, United States Bankruptcy Code, and there is no proceeding pending in which I may be found
        guilty of such a felony.
        I do not owe a debt of the kind specified in § 522(q)(1)(B) and there is no proceeding pending in which I may be
        found liable for such a debt. I have not been convicted of a felony which demonstrates that the filing of this
        bankruptcy case was an abuse of the provisions of the bankruptcy laws.

        I declare under penalty of perjury that the foregoing answers are true and correct to the best of my knowledge,
        information and belief.

        DATED:         July 31, 2020                                                              /s/ John Arthur Sebert, Jr.
                                                                                                  Debtor

                                                                                                  /s/ Abbie Faye Willard
                                                                                                  Joint Debtor

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to five years, or both. 18 U.S.C. §§
152 and 3571.




Local Form 2084-26 (12/17)                                           Certificate of Eligibility                                              Page 1

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          Case 4:20-bk-08876-SHG                    Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                Desc
                                                   Main Document    Page 71 of 73
 Fill in this information to identify your case:

 Debtor 1                    John Arthur Sebert, Jr.
                             First Name                      Middle Name                     Last Name

 Debtor 2                    Abbie Faye Willard
 (Spouse if, filing)         First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

 Case number
 (if known)




Official Form 423
Certification About a Financial Management Course                                                                                                      12/15
If you are an individual, you must take an approved course about personal financial management if:
    you filed for bankruptcy under chapter 7 or 13, or
    you filed for bankruptcy under chapter 11 and § 1141 (d)(3) does not apply.
In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).
After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If
the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each
file this form with the certificate number before your debts will be discharged.
     If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
     Bankruptcy Code.
     If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or before you file a
     motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file
a motion with the court and obtain a court order.
 Part 1: Tell the Court About the Required Course.

 You must check one:

              I completed an approved course in personal financial management:
              Date I took the course

              Name of approved provider

              Certificate Number

              I am not required to complete a course in personal financial management because the court has granted my
              motion for a waiver of the requirement based on (check one):

                       Incapacity.        I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about
                                          finances.

                       Disability.        My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                          phone, or through the internet, even after I reasonably tried to do so.

                       Active duty.       I am currently on active military duty in a military combat zone.


                       Residence.         I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                          instructional courses cannot adequately meet my needs.

 Part 2: Sign Here

 I certify that the information I have provided is true and correct.

    /s/ John Arthur Sebert, Jr.                                                       John Arthur Sebert, Jr.             Date    July 31, 2020
    Signature of debtor named on certificate                                          Printed name of debtor




Official Form 423                                                  Certification About a Financial Management Course
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                                                               Main Document    Page 72 of 73
 Fill in this information to identify your case:

 Debtor 1                    John Arthur Sebert, Jr.
                             First Name                     Middle Name                      Last Name

 Debtor 2                    Abbie Faye Willard
 (Spouse if, filing)         First Name                     Middle Name                      Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number
 (if known)




Official Form 423
Certification About a Financial Management Course                                                                                                     12/15
If you are an individual, you must take an approved course about personal financial management if:
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In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file
a motion with the court and obtain a court order.
 Part 1: Tell the Court About the Required Course.

 You must check one:

              I completed an approved course in personal financial management:
              Date I took the course
                                                       MM/ DD / YYYY
              Name of approved provider

              Certificate Number

              I am not required to complete a course in personal financial management because the court has granted my
              motion for a waiver of the requirement based on (check one):

                       Incapacity.        I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about
                                          finances.

                       Disability.        My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                          phone, or through the internet, even after I reasonably tried to do so.

                       Active duty.       I am currently on active military duty in a military combat zone.


                       Residence.         I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                          instructional courses cannot adequately meet my needs.

 Part 2: Sign Here

 I certify that the information I have provided is true and correct.

    /s/ Abbie Faye Willard                                                          Abbie Faye Willard                  Date    July 31, 2020
    Signature of debtor named on certificate                                        Printed name of debtor                      MM / DD / YYY




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              Case 4:20-bk-08876-SHG                           Doc 1 Filed 07/31/20 Entered 07/31/20 15:06:38                                        Desc
                                                              Main Document    Page 73 of 73
